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 1
                                            TABLE OF EXHIBITS
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 3
                Exhibit                     Description                   Page
 4
                  A        A true and correct copy of the NDA signed by
 5          I             IDahlin on March 25, 2020
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28                                  COMPLAINT FOR DAMAGES
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                  EXHIBIT A
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                  WHITE SLATE LLP D/B/A SLATE LAW GROUP
             NON-DISCLOSURE AND CONFIDENTIALITY AGREEMENT

This Mutual Non-disclosure Agreement (this “Agreement” or “NDA”) is effective on February 3,
2020 (the “Effective Date”), by and between White Slate, LLP, d/b/a Slate Law Group, a California
limited liability partnership with its principal place of business located at 2131 Third Ave, San
Diego CA, 92101 (“Slate Law Group”), and                          Derek Dahlin , an individual
(“Recipient”). Slate Law Group and Recipient may each be referred to as “Party” individually
and/or collectively as “Parties” hereinafter throughout this Agreement. The Recipient, as the party
receiving Confidential and Proprietary Information may be referred to as the "Receiving Party"
Slate Law Group, as the Party disclosing Confidential and Proprietary Information may be referred
to as the "Disclosing Party" hereinafter throughout this Agreement.

                                           RECITALS

       WHEREAS, Slate Law Group wishes to engage Recipient to provide certain services
and/or employment for the benefit of Slate Law Group; and

       WHEREAS, the Parties desire to engage in discussions regarding clients, dealings, and
finances of Slate Law Group (the “Transaction”); and

       WHEREAS, the Parties may, from time to time, disclose certain Trade Secret and/or
Confidential, Business and Proprietary Information (as defined below) during discussions; and

       WHEREAS, Slate Law Group wishes to keep confidential and safeguard its Trade Secret
and/or Confidential, Business and Proprietary Information between the Parties; and

        WHEREAS, this Agreement is intended by the Parties to protect Slate Law Group’s Trade
Secret, Business and/or Confidential and Proprietary Information against unauthorized use or
disclosure; and

        WHEREAS, Recipient wishes to establish and maintain a professional or employment
relationship with Slate Law Group, and therefore desires to enter into this Agreement with Slate
Law Group.

                                         AGREEMENT

NOW, THEREFORE, in consideration of the mutual promises contained herein, and Slate Law
Group’s engagement/employment or continued engagement/employment of Recipient, the Parties
hereby agree as follows:

1. Definitions.

1.1.    Confidential and Proprietary Information. For purposes of this Agreement, “Confidential,
Business and Proprietary Information” shall mean any data or information that is disclosed by
the Disclosing Party to a Receiving Party which is not generally known to the public, in tangible
or intangible form, and is of value to Slate Law Group, and relates to Slate Law Group’s clients,
client lists, product plans, designs, costs, prices, suppliers, finances, marketing plans, business
strategies and opportunities, research, development, know-how, personnel training and
management, and/or any other disclosed information the Disclosing Party considers to be
“Confidential” or otherwise notifies Receiving Party as being Confidential. Confidential
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Information shall also include all data and information provided on behalf of Slate Law Group to
Recipient on or prior to the Effective Date.

1.1.1.   Notwithstanding anything contrary to the foregoing, Confidential Information may not
         include data or information which Slate Law Group reasonably determines: (a) was known
         by the Receiving Party prior to receiving the Confidential Information from the Disclosing
         Party; (b) becomes rightfully known to the Receiving Party from a third party source not
         known (after diligent inquiry) by the Receiving Party to be under an obligation to
         Disclosing Party to maintain confidentiality; (c) is or becomes publicly available through
         no fault of or failure to act by the Receiving Party in breach of this Agreement; (d) is
         required to be disclosed in a judicial or administrative proceeding, or is otherwise requested
         or required to be disclosed by law or regulation, although the requirements of Paragraph 4
         hereof shall apply prior to any disclosure being made; and (e) is or has been independently
         developed by the Receiving Party without violation of the terms of this Agreement or
         reference or access to any Confidential Information.

1.2.    Trade Secret Information. For purposes of this Agreement, “Trade Secret Information”
shall be given its broadest possible interpretation and shall mean any and all documents,
information or other data (whether recorded or otherwise), in whole or in part, which concerns
Slate Law Group or its business and which (i) derives independent economic value, actual or
potential, from not being generally known to the public or to other persons who can obtain
economic value from its disclosure or use, and (ii) is the subject of efforts that are reasonable under
the circumstances to maintain its secrecy. Such Trade Secret Information includes, without
limitation, information related to Slate Law Group’s client lists, potential client lists, business
techniques, strategies and methodologies, marketing plans, handbooks, suppliers, service
providers, advertising, contracts, forecasts, pricing, practices, techniques, business plans, financial
plans, research, development, purchasing, accounting, programming and/or relationship
development or any other tangible or intangible information and data provided to Recipient
through Slate Law Group.

1.3.    Representatives. For purposes of this Agreement, “Representatives” shall mean attorneys,
officers, consultants, contractors, interns, and other personnel of Slate Law Group as well as any
agents, employees, or 1099 contractors.

1.4.   Departure. For purposes of this Agreement, “Departure” shall mean: (i) the completion or
termination of the dealings between the Parties; and (ii) the termination of Recipient’s engagement
and/or contractual relationship with Slate Law Group.

1.5.   Competitive Consulting. For the purposes of this Agreement, “Competitive Consulting
or Employment” is defined as consultation, employment, client, and/or legal services that may be
rendered in the same areas where in Slate Law Group operates, which may interfere with
performance of Recipient, draw from Slate Law Group clientele and/or leads, or disrupt
Recipient’s ability to competently complete established goals and or services that Slate Law Group
engaged Recipient for. Additionally, Competitive Consulting is that which would harm or deter
active and/or future business of Slate Law Group or take business opportunities that would
otherwise go to Slate Law Group.

1.6.    Non-Competitive Consulting. For the purposes of this Agreement, “Non-Competitive
Consulting” is defined as consultations that would be beneficial to Slate Law Group, is in
furtherance of Slate Law Group’s business interests, and does not result in any monetization or

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compensation to Recipient on the basis of information obtained during the course of engagement
by Slate Law Group.

2. Ownership of Confidential, Business and Proprietary Information. Notwithstanding
anything contrary in this Agreement, the Parties understand and acknowledge that all Trade Secret
Information, Confidential and Proprietary Information, and intellectual property rights, including,
but not limited to, copyright and trademarks, therein remain the exclusive property of Slate Law
Group, and no ownership, license or other right to Trade Secret Information or Confidential and
Proprietary Information is granted or implied hereby to Recipient.

3. Non-Disclosure of Trade Secret Information, Confidential, Business and Proprietary
Information. Recipient shall not to use, disclose, or cause the use or disclosure of any Confidential
and Proprietary Information and/or Trade Secret Information for any purpose other than to
diligently carry out the negotiations and undertakings concerning the Transaction contemplated
under this Agreement. Recipient shall carefully restrict access of Confidential Information to those
of Slate Law Group’s Representatives, directors, officers, employees, consultants, contractors, and
agents who require such access in order to participate on behalf of Recipient in the current
Transaction, dealings, contract or agreement, or the advisability thereof, with Slate Law Group.
The Parties shall be held responsible for breaches of this Agreement by that Party’s respective
Representatives who may require or receive Trade Secret and/or Confidential and Proprietary
Information in furtherance of the business relationship, transaction, any contract or agreement or
advisability thereof.

4. Non-Use of Trade Secret Information, Confidential Business and Proprietary
Information. Recipient shall not, without the prior written approval of a Representative of Slate
Law Group in each instance, or unless otherwise expressly permitted by the terms of this
Agreement, use, publish, or otherwise cause the use of any Trade Secret Information and/or
Confidential and Proprietary Information by its Representatives, directly or indirectly, for
Recipient’s benefit and/or to the detriment of Slate Law Group. The Parties understand and
acknowledge that Recipient’s obligations under this Agreement with regard to nonuse of
Confidential and Proprietary Information and/or Trade Secret Information shall remain in effect
for as long as such information shall remain confidential and non-public or as long as required
under applicable law, whichever shall be longer.

5. Compelled Disclosure of Trade Secret or Confidential Business and Proprietary
Information. Receiving Party may disclose Confidential Information pursuant to any
governmental, judicial, or administrative order, subpoena, discovery request, regulatory request or
similar method, provided that Receiving Party promptly give reasonable notice to Disclosing Party
in writing of such demand for disclosure so that Disclosing Party, at its sole expense, may seek to
make the disclosure subject to a protective order or other appropriate remedy to preserve the
confidentiality of the Trade Secret Information and/or Confidential and Proprietary Information;
provided that if the Receiving Party is legally required to disclose such Trade Secret Information
and/or Confidential and Proprietary Information in regards to a broad regulatory request with
respect to Receiving Party’s business, Receiving Party may promptly comply with such request
and, if permitted by such regulation, give Disclosing Party prompt notice to such disclosure for
Disclosing Party to put forth reasonable efforts to oppose such disclosure with Receiving Party’s
reasonable cooperation.

6. Solicitation of Representatives. Recipient recognizes that possession of Trade Secret
Information and/or Confidential Information Business and Proprietary Information includes
information that is private, privileged, and or/ personal to clientele and Representatives of Slate
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Law Group, relating to Representative’s education, experience, skills, abilities, compensation and
benefits, and interpersonal relationships amongst Representatives. Recipient recognizes that such
information is private, personal, generally unknown, and is of substantial value to Slate Law
Group, the development of Slate Law Group’s business and client dealings, and in securing and
retaining Representatives, and in managing the daily operations of Slate Law Group. Recipient
also recognizes that such information has been acquired solely because of Recipient’s current
engagement by Slate Law Group. Accordingly, for a period of two (2) consecutive years after any
such engagement, Recipient agrees not to, directly or indirectly, convey such Trade Secret
Information and/or Confidential and Proprietary Information pertaining to Slate Law Group or any
other Representatives of Slate Law Group to any other person or to any legally recognized entity
(the “Restricted Period”).

7. Return of Trade Secret Information, Confidential, Business and Proprietary Information.
Recipient shall immediately return to Slate Law Group any and all writings, communications, and
documents pertaining to Trade Secret Information and/or Confidential Information and Proprietary
Information of Slate Law Group and any and all records, notes, and other written, printed or
tangible materials pertaining to such Trade Secret Information and/or Confidential Information
and Proprietary Information in whatever form of storage, upon the earlier of: (i) the completion or
termination of the dealings between the Parties; (ii) the termination of this Agreement; or (iii) at
such time that Slate Law Group shall request in writing; provided that Recipient may retain such
Confidential and Proprietary Information as is necessary to comply with document retention
policies and may, upon Slate Law Group’s receipt of written certification by Recipient’s
authorized Representative, destroy any of the foregoing embodying Confidential and Proprietary
Information.

8. Competition During Engagement or Employment. The Parties understand and acknowledge
that Competitive Consulting is not permitted and may be grounds for termination of this
Agreement at the sole discretion of Slate Law Group, and is grounds for an immediate request by
Slate Law Group for adequate remedies such as injunctive relief and/or monetary damages.

9. Term. This Agreement shall remain in full force and effect as of the Effective Date for the
duration of Recipient’s engagement by Slate Law Group and for a term of two (2) consecutive
years after termination of Recipient’s engagement thereafter for any reason (the “Restricted
Period”). Notwithstanding the foregoing or anything contrary to the foregoing, the Parties
understand and acknowledge that each Party has a duty to hold, in confidence, Trade Secret
Information and/or Confidential and Proprietary Information that was disclosed during the term
remains indefinitely.

10. Non-Disparagement. Both during the period that this Agreement is in full force and effect,
and during the Restricted Period following end of engagement, Recipient agrees to not disparage
Slate Law Group in any manner harmful to Slate Law Group’s business reputation and to the
personal or professional reputation of any of Slate Law Group’s individual Representatives,
employees, partners, officers, or agents. Recipient understands and acknowledges that a breach of
this provision shall constitute a breach of this Agreement. The Parties understand and acknowledge
that Slate Law Group’s damages under a breach of this provision would be difficult if not
impossible, to determine. Therefore, a breach of this provision by Recipient shall result in Slate
Law Group having the right to obtain injunctive and other applicable equitable relief from
Recipient. This right of Slate Law Group shall be in addition to remedies otherwise available to
Slate Law Group at law, in equity or otherwise.


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11. Injunctive Relief. Recipient understands and acknowledges that any disclosure or
misappropriation of any of Trade Secret Information and/or Confidential Information and
Proprietary Information in violation of this Agreement may cause Slate Law Group irreparable
harm, the amount of which may be difficult to ascertain and, therefore, agrees that Slate Law Group
shall have the right to apply to a court of competent jurisdiction for an order restraining any further
disclosure or misappropriation, and for such other relief as Slate Law Group shall deem
appropriate. This right of Disclosing Party shall be in addition to the remedies otherwise available
to Slate Law Group at law or in equity.

12. Assignment. Except as set forth in this Agreement or otherwise mutually agreed upon in
writing by the Parties, this Agreement is non-assignable and nondelegable.

13. Entire Agreement. This Agreement represents the entire agreement between the Parties with
regard to the subject matter discussed herein. This Agreement may only be changed in writing,
signed by both Parties. The recitals set forth above are true, correct, contractual in nature and are
hereby incorporated into this Agreement by this reference.

14. Severability. If any provision of this Agreement is held in whole or in part to be unenforceable
for any reason, the remainder of that provision and of the entire agreement will be severable and
remain in effect.

15.Attorney’s Fees. If either Party breaches this Agreement and the Parties are required to employ
an attorney as a result of such breach, the breaching Party agrees to pay the non-breaching Party
for all such reasonable attorney’s fees, court costs, and expenses as the non-breaching Party may
incur.

16. Acknowledgment of Consideration. The Parties hereby represent, warrant, and covenant that
in connection with their obligations set forth in this Agreement, the Parties have received, are
receiving and/or will be receiving adequate consideration thereof.

17. Binding and Successors. This Agreement and Recipient’s obligations hereunder shall be
binding upon the Representatives of Recipient as defined in Section 1.3 of this Agreement and
shall inure to the benefit of Slate Law Group.

18. Governing Law and Jurisdiction. This Agreement shall be governed by and construed in
accordance with the laws of the State of California, and the Parties elect San Diego County, State
of California to be the exclusive place of jurisdiction for the purposes of this Agreement.

20. Waiver. Any waiver by any Party, expressed or implied, of a default or breach of any term of
this Agreement shall not be deemed to be a waiver of any other default or breach. Failure of a Party
to declare or act upon any default will not constitute a waiver of such default.

21. Modification. No modification, termination, or attempted waiver of this Agreement, or any
provision thereof, shall be valid unless in writing signed by both Parties.

22. Counterparts. The Parties may execute this Agreement in any number of counterparts, each
of which is an original, but all of which shall constitute one (1) single instrument of the same.




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         IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed as of
 the Effective Date by their duly authorized Representatives:



Date:                                              Date:




Signature:                                         Signature:
KELLY E. DUFORD
Managing Partner                                   Name: Derek Dahlin
WHITE SLATE, LLP (Disclosing Party)                Recipient (Receiving Party)




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